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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION

    ANTOINE RICHARD, DARRELL
    RICHARD, CHRIS MECHE, DERBY
    DOUCET, SR., KEVIN RABEAUX and
    MARK LOUVIERE, individually and on
    behalf of all similarly situated individuals,
                                                        CIVIL ACTION NO. 15-cv-2557
           Plaintiffs,
                                                        DISTRICT JUDGE S. MAURICE
    VERSUS                                              HICKS, JR.

    FLOWERS FOODS, INC.; FLOWERS                        MAGISTRATE JUDGE CAROL B.
    BAKING COMPANY OF LAFAYETTE,                        WHITEHURST
    LLC; FLOWERS BAKING COMPANY
    OF BATON ROUGE, LLC; FLOWERS
    BAKING COMPANY OF
    ALEXANDRIA, LLC; FLOWERS
    BAKING COMPANY OF NEW
    ORLEANS, LLC; and FLOWERS
    BAKING COMPANY OF TYLER, LLC

           Defendants.



                                 PLAINTIFFS’ RESPONSE TO
                            OBJECTIONS TO MAGISTRATE JUDGE’S
                             REPORT AND RECOMMENDATIONS




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    MAY IT PLEASE THE COURT:

            Plaintiffs respectfully submit this Response in conformance with F.R.C.P. 72(b)(2) to

    Defendants, Flowers Foods, Inc., et al (together, “Flowers”), (Rec. Docs. 342 and 342-1)

    objection to that Report & Recommendations (Rec. Doc. 339, the “R&R”) issued by Magistrate

    Judge Carol Whitehurst on August 13, 2018. 1

            In many instances Flowers’ objections to Judge Whitehurst’s Report and

    Recommendation “simply reiterate previous arguments or make only conclusory statements”.

    Nowlin v. Greene, 467 F.Supp.2d 375 (S.D.N.Y., 2006); Gusky v. Astrue, 954 F.Supp.2d 180

    (W.D.N.Y., 2013). See 28 U.S.C. 636(b)(1). Therefore, her findings subject to these objections

    are reviewable only for “clear error.” Mere reiteration of arguments already raised in brief do

    not merit de novo examination. Id. Plaintiffs respectfully request the Court carefully note the

    distinct similarities between many of Flowers’ arguments in memoranda and those “newly

    raised” objections.

            Flowers falsely claims that “no analysis was conducted” (Rec. Doc. 342-1, p. 1). Flowers

    goes beyond the pale when it claims the Magistrate Judge’s fact-specific analysis “confirms that
                                                                                   2
    these … inquiries were simply not made.” (Rec. Doc. 342-1, p. 2).                  There is of course no

    requirement that the Magistrate Judge’s findings of fact specifically rebut isolated pieces of

    evidence one party claims mandate other findings. What is required is a thorough analysis of the

    factual records developed by the parties; enunciation of the findings of fact that record supports

    and properly supported legal conclusions those facts require. Her report refers at length to very

    1
      Defendants have declined to comply with F.R.C.P. 72(b)(2)’s rule that “the objecting party must promptly arrange
    for transcribing the record, or whatever portions of it the parties agree to or the magistrate judge considers
    sufficient.” No discussion of the necessary record has occurred, and Defendants have not requested that Judge
    Whitehurst designate sufficient portions of it.
    2
      Defendants’ position that Judge Whitehurst somehow failed to properly analyze or make the “necessary inquiries”
    is untenable. Flowers’ objections are plainly wrong, in some cases inexcusably so, and Flowers’ criticism of Judge
    Whitehurst should be rejected entirely.
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    specific details of this case: these plaintiffs, these defendants, and the factual relationships

    between them. As to each of these requirements, Judge Whitehurst’s R&R delivers.

              The Magistrate Judge’s R&R correctly found that “[a]ll distributors sign a Distributor

    Agreement containing the same essential terms; none of these contracts are ever actually

    negotiated by any distributor or even the bakery to whom the distributor reports” (Rec. Doc. 339,

    p. 2). “Defendants also control all pricing, including the prices distributors pay them, as well as

    the prices paid by customers to distributors for the same product.” Id.

             I.    Magistrate Judge Whitehurst’s Recommendation on Plaintiffs’ Motion for Class
                   Certification Under Rule 23 should be Adopted

                   a. F.R.C.P. 23(a) Prerequisites
              “An action may proceed as a class action only if the party seeking certification

    demonstrates that all four of the familiar requirements of [R]ule 23(a) are satisfied: numerosity,

    commonality, typicality, and adequacy.” Berger v. Compaq Computer Corp., 257 F.3d 475, 479

    (C.A.5, 2001). Further, “the class sought to be represented must be adequately defined and

    clearly ascertainable,” Union Asset Management Holding A.G. v. Dell, Inc., 669 F.3d 632, 639

    (C.A.5, 2012).

              Judge Whitehurst correctly conducted, a “rigorous analysis of the [Rule 23] prerequisites

    for certifying a class,” Castano v. Am. Tobacco Co., 84 F.3d 734, 740 (C.A.5, 1996). This

    Court should keep in mind that “[m]erits questions may be considered to the extent — but only

    to the extent — that they are relevant to determining whether the Rule 23 prerequisites for class

    certification are satisfied,” Steward v. Janek, 315 F.R.D. 472, 481 (W.D.Tex., 2016), quoting

    Amgen Inc. v. Connecticut Ret. Plans & Trust Funds, 568 U.S. 455, 466 (2013). 3 “Class


    3
        See also FN9, below.
                                                       2

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    certification centers on the defendants’ alleged unlawful conduct, not on individual injury.” In re

    Rodriguez, 695 F.3d 360, 365 (C.A.5, 2012). 4

            Flowers waived objection to ascertainability, numerosity, and typicality.

            Defendants did not challenge Rule 23’s requirements of ascertainability, numerosity and

    typicality. 5 “Flowers does not challenge plaintiffs’ contentions” either that “an identifiable class

    can be ascertained by reference to objective criteria,” or that “precise identities of all class

    members can be readily determined from Flowers’ business records.” (Rec. Doc. 339, p. 6). The

    same is true of the magistrate judge’s findings concerning Rule 23’s numerosity (Rec. Doc. 339,

    pp. 6-7) and typicality (Rec. Doc. 339, pp. 14-16) requirements.

            A de novo determination is not appropriate on those portions of a magistrate’s report to

    which objection is not made: 28 U.S.C. 636(b)(1). See Rroku v. Cole, 726 Fed.Appx. 201, 203

    (C.A.5, 2018). Neither Title 28 nor F.R.C.P. 72(b)(3) provides for review of these determinations

    by the district court – and they are not likewise reviewable on appeal other than for “plain

    error”. Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428-29 (C.A.5, 1996).

            Defendants’ “undue reliance” criticism regarding commonality is misplaced:
            Flowers ignores factual findings and legal conclusions.

            Flowers’ misclassification of each and every one of its employees suffices for

    commonality. According to Wal-Mart Stores v. Dukes, 564 U.S. 338 (2011), “proof of

    commonality necessarily overlaps with respondents' merits contention that Wal–Mart engages in

    a pattern or practice of discrimination,” including “[s]ignificant proof that an employer operated

    under a general policy of discrimination.” Dukes, 564 U.S. at 352. “[I[f the discrimination


    4
     See p. 12, infra, for similar discussion under FLSA.
    5
     “[F]ailure to raise objections to the Report and Recommendation waives that party's right to review in the district
    court and those claims not preserved by such objections are precluded on appeal.” Perocier-Morales v. U.S., 887
    F.Supp.2d 399, 405 (D.Puerto Rico, 2012).
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    manifested itself in… the same general fashion… We think that statement precisely describes

    respondents' burden,” quoting General Telephone Company of the Southwest v. Falcon, 457 U.S.

    147, FN13 (1982) (emphasis added). Replace “Wal-Mart” and “discrimination” with “Flowers”

    and “misclassification,” and the Court must concur with Judge Whitehurst that “plaintiffs satisfy

    the… Dukes standard in this matter”. (Rec. Doc. 339, p. 10).

               Flowers ignores other commonalities among the class’ claims, i.e., fines, fees, and

    administrative costs, handheld computer rent, warehouse rent, and other fixed periodic charges

    which the Magistrate Judge expressly found the record supports. “[T]he state-law claims of the

    plaintiffs present common questions of law and fact” (Rec. Doc. 339, pp. 12-13). All of these

    claims are common to every member of the class, and all of these claims are subject to uniform

    determination of propriety (or illegality) under LSA-R.S. 23:635, as Judge Whitehurst correctly

    noted. Flowers’ argument that certain of its wage deductions might be justified and thus

    unrecoverable – for example, the assertion that “[s]hrink is almost always caused by accounting

    errors by distributors” – is paternalistic and insulting (Rec. Doc. 342-1). More importantly, it is

    totally unsupported by any evidence other than self-serving declarations of Flowers executives –

    no data, no spreadsheets, nothing.

               Flowers admits (Rec. Docs. 8-13) all of its Louisiana distributors share the same job

    classification, are paid in the same manner and on the same terms (and are not paid overtime),

    and engage in essentially identical job duties: “deliver and sell products to various customers,

    stock products on store shelves, and assemble promotional displays…” 6 This is not “significant

    proof [of] a general policy” – it is overwhelming proof.



    6
        Par. 2 of Rec. Docs. 9, 10, 11, 12.
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            Judge Whitehurst found commonality in the application of the LWPA to the Plaintiffs’

    claims, noting succinctly “It is important that the same substantive law will apply to all Plaintiffs'

    claims”. Turner v. Murphy Oil USA, Inc., 234 F.R.D. 597 (E.D.La., 2006). Defendants refuse to

    recognize that the “significant evidence” noted by the Court, weighs heavily against them.

            Flowers’ adequacy argument fails to show clear error. Flowers ignores detailed
            factual findings and legal conclusions.

            Judge Whitehurst’s R&R notes, “there are no actual or potential conflicts of interest

    between plaintiffs and the putative class…. After review of the record in this matter and the

    briefs of the parties… the adequacy requirement has been met” (Rec. Doc. 339, p. 17).

            Flowers responds by simply repeating its arguments that (of hundreds) “several class

    members… do not want to be employees” (Rec. Doc. 342-1, p. 13). According to Defendants,

    this “conflict” “raises significant due process concerns.”

            In reality these concerns are neither conflicts nor significant. There are no “conflicts of

    interest” between named Plaintiffs and the other class members concerning the fact-finder’s

    determination of their retrospective status. 7 Any disagreement as to whether class members

    would or would not prospectively prefer to remain employees of Flowers does not even hint at a

    conflict sufficient to defeat adequacy. Such a prospect is exactly what courts mean when they

    discount hypothetical conflicts, raised by defendants for the sole purpose of avoiding class

    treatment. Any “conflict will not defeat the adequacy requirement if it is merely speculative or

    hypothetical,” In re BP p.l.c. Securities Litigation, 2013 WL 6388408 (S.D.Tex., 2013) (internal

    quotation omitted).



    7
      Of several, this “objection” appears to be the most egregious instance of Defendants merely arguing to the district
    court exactly the same arguments raised in memoranda in opposition – warranting no “de novo determination” by
    this Court.
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            b. Rule 23(b)(2) and (b)(3)

        In addition to Rule 23(a)’s requirements, “the proposed class must satisfy at least one of

 the three requirements listed in Rule 23(b)”. Dukes, 564 U.S. at 345. Because Plaintiffs’ state-

 law claims are premised entirely on obtaining “declaratory relief… respecting the class as a

 whole” Judge Whitehurst’s R&R recommends certification under Rule 23(b)(2). Plaintiffs’

 ancillary monetary claims under the Louisiana Wage Payment Act (LWPA) are suitable for

 certification under Rule 23(b)(3).

        Rule 23(b)(2) certification is addressed simply because it is simply found.

        According to Flowers, Judge Whitehurst’s R&R should have explained in greater detail

 her recommendation of certification for uniform declarative relief under Rule 23(b)(2). But the

 Magistrate Judge’s R&R need not explicate exactly which factual findings lead to appropriate

 conclusions of law, so long as both are present. And, despite Flowers’ protest, they are.

        “Instead of requiring common issues, [Rule] 23(b)(2) requires common behavior by the

 defendant towards the class.” Casa Orlando Apartments, Ltd. v. Federal Nat. Mortg. Ass’n, 624

 F.3d 185, 198 (C.A.5, 2010). Although Defendants refer to Allison v. Citgo Petroleum Corp.,

 151 F.3d 402 (C.A.5, 1998), the Fifth Circuit with specific reference to Allison has “explained

 that incidental means that damages flow directly from liability to the class as a whole on the

 claims forming the basis of the injunctive or declaratory relief. Thus, damages may be incidental

 when they are capable of computation by means of objective standards and not dependent in any

 significant way on the intangible, subjective differences of each class member's circumstances.”

 Bolin v. Sears, Roebuck & Co., 231 F.3d 970, 975-76 (C.A.5, 2000) (emphasis in original).

        Without doubt, the standards enunciated in Bolin are applicable here, and the R&R

 reflects that. As Judge Whitehurst accurately observed, “the extensive discovery conducted
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 shows that Flowers deducts employees’ wages for a variety of reasons… [including] handheld

 computer rent, warehouse rent, and other fixed periodic charges…. Flowers admittedly charges

 every distributor a myriad of fines…. Flowers uses a uniform policy to apply these deductions”

 (Rec. Doc. 339, pp. 12-13) (emphasis added).

         Moreover, Allison itself clarifies that “recovery of incidental damages should typically be

 concomitant with, not merely consequential to, class-wide injunctive or declaratory relief.

 Moreover, such damages should at least be capable of computation by means of objective

 standards…” Allison, supra, 151 F.3d at 415. As Judge Whitehurst correctly found, “once

 liability is established, damages may be computed with a combination of Flowers’ business

 records and class members’ good-faith estimates of their work hours” (Rec. Doc. 33, p. 21),

 citing Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680 (1946). 8 Defendants can only object

 that Judge Whitehurst’s R&R fails to consider Rule 23(b)(2) requirements “at all” if they refuse

 to actually read the entire R&R. This Court is not so limited.

         Finally, Plaintiffs’ objections premised on Allison and its progeny expressly miss the

 point. “Allison reflects our concern that plaintiffs may attempt to shoehorn damages actions into

 the Rule 23(b)(2) framework, depriving class members of notice and opt-out protections….

 Plaintiffs' counsel effectively gathers clients—often thousands of clients—by a certification

 under (b)(2). Defendants attempting to purchase res judicata may prefer certification under (b)(2)

 over (b)(3). Allison speaks to these realities.” Bolin, 231 F.3d at 976. Neither of these

 considerations present a problem here. There is no suggestion whatsoever either that Plaintiffs

 here are seeking an inappropriately large class of thousands; or that Defendants are “attempting

 8
   “[A]n employee has carried out his burden if he proves that he has in fact performed work for which he was
 improperly compensated and if he produces sufficient evidence to show the amount and extent of that work as a
 matter of just and reasonable inference.” Partially superseded on unrelated grounds by the Portal-to-Portal Act; see
 Integrity Staffing Solutions, Inc. v. Busk, 135 S.Ct. 513 (2014).
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 to purchase res judicata” by avoiding an opt-out class. The idea that “the monetary tail would be

 wagging the injunction dog” (Rec. Doc. 342-1, pp. 20-21) is laughable – absent injunctive relief

 in the form of declaration of misclassification, the “monetary tail” literally does not exist. To

 belabor the obvious, there is no LWPA recovery for independent contractors.

        Judge Whitehurst’s extensive consideration of Rule 23(b)(3)’s predominance
        requirement compels her conclusions in light of her findings of fact.

        In their objection to certification under Rule 23(b)(3), Defendants mischaracterize Judge

 Whitehurst’s R&R. The Defendants limit their reading to an isolated section, and decline to

 acknowledge that findings of fact elsewhere in the R&R are highly relevant here as well. As the

 R&R explicitly recognizes, certification under Rule 23(b)(3) requires “identifying the substantive

 issues that will control the outcome, assessing which issues will predominate, and then

 determining whether the issues are common to the class.” O’Sullivan v. Countrywide Home

 Loans, Inc., 319 F.3d 732, 738 (C.A.5, 2003) (Rec. Doc. 339, pp. 18-19). These issues may

 consist of “questions of law or fact common to class members,” In re Wilborn, 609 F.3d 748,

 755 (C.A.5, 2010) (emphasis added) – and it is apparent from the R&R’s findings of fact and its

 legal analysis that both tests are independently met here.

        Judge Whitehurst’s R&R explicitly identifies misclassification as the legal “issue [that]

 will predominate” – appropriately, since that “question is central to Plaintiffs’ liability argument

 and common to the entire putative class” (Rec. Doc. 339, p. 20). Flowers’ protest that

 determination of misclassification “necessarily requires an inquiry into actual practice with each

 individual” (Rec. Doc. 342-1, p. 15) is both wrong on the law, and fantasy in light of the facts.

 Right to control, and not “actual practice,” is “the essence of the employer-employee

 relationship” under Louisiana law. Chiasson v. Louisiana Rock Monsters, LLC, 2013-1423

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 (La.App. 4th Cir. 4/2/14). And at the risk of engaging in unwarranted merits determinations on

 certification, the controlling substantive facts on Defendants’ right to control, and thus those

 facts controlling resolution of that legal issues, are extensively detailed in the R&R, though

 perhaps not where (or to the conclusions) Flowers would prefer:

         Flowers defendants uniformly classify all distributors as independent contractors,
         pursuant to a “Distributor Agreement,” which all distributors have signed. All
         distributors sign a Distributor Agreement containing the same essential terms;
         none of these contracts are ever actually negotiated by any distributor or even the
         bakery to whom the distributor reports. Defendants also control all pricing,
         including the prices distributors pay them, as well as the prices paid by customers
         to distributors for the same product. (Rec. Doc. 339, p. 2)

         In sum, questions of law and fact are common to the class, and these issues vastly

 predominate over any individualized inquiries. While explicitly acknowledging inevitable

 variation among class members, Judge Whitehurst’s R&R emphasized her factual finding that

 such variations among class members are far less prominent than the commonalities which unite

 them. (Rec. Doc. 339, p. 21). “[T]he need for some individualized determinations at the liability

 and damages stage does not defeat class certification…. Rather, the question is whether there is

 reason to think that [individualized] questions will overwhelm common ones and render class

 certification inappropriate.” Venegas v. Global Aircraft Service, Inc., 159 F.Supp.3d 93, 100

 (D.Maine, 2016) (internal quotation marks omitted). 9

         In fact, the only “individualized inquiry” which Flowers can manage to argue might arise

 among class members is whether a single one of its various deductions – to which all distributors

 are subjected, meaning there is no difference in application – might have been (in some, entirely


 9
   Quoting In re Nexium Antitrust Litig., 777 F.3d 9, 21 (C.A.1, 2015) and Halliburton Co. v. Erica P. John Fund,
 Inc., 134 S.Ct. 2398 (2014). Incidentally, Flowers appears to have overlooked (at least) Venegas (and Janek, supra)
 when it claimed to this Court (Rec. Doc. 342-1, p. 9) that “there is only one post-Dukes class certification decision
 cited in all of Plaintiffs’ briefing and the R&R” – a statement that is flatly false, and irrelevant besides. See Rec.
 Doc. 322.
                                                           9

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 hypothetical cases) warranted. Because the LWPA exempts employers from penalty in case of

 employees’ “willful or negligent” activity, Flowers is forced to rely on a single deduction –

 stale/shrink – to suggest (without evidence other than self-serving statements of its own

 executives) that some amount of this single deduction might sometimes be the distributor’s fault.

 Tellingly, Flowers offers no evidence whatsoever that that single individualized determination

 might amount to anything comparable to the numerous, universally applicable, deductions which

 form the vast majority of the class’ claims. Despite having all relevant business records at its

 disposal, Flowers declines to identify for the Court, for example, the relative magnitude of those

 claims it believes would require individualized inquiries versus those which would not. The

 reason is obvious: Flowers is well aware that common questions vastly predominate. Rule

 23(b)(3)’s predominance is more than satisfied, and Defendants know it.

        Defendants waived objection to Judge Whitehurst’s R&R on Rule 23(b)(3)’s
        superiority requirement.

        Defendants did not object to the R&R’s conclusion that class treatment is superior to

 individual pursuit of class members’ claims. (Rec. Doc. 339, p. 19). Waived objections are

 subject only to “clear error” review. See p. 1, supra. Here, the Magistrate’s R&R plainly finds

 the record supports superiority: class members might not seek relief at all otherwise for reasons

 of cost or fear; judicial economy will be promoted by holding one trial instead of hundreds; and

 the proposed class is certainly not so large as to be unmanageable (Rec. Doc. 339, p. 20).


      II.   Magistrate Judge Whitehurst’s Recommendation on Defendants’ Motion for
            Decertification of the FLSA Collective Should be Adopted

            a. The Magistrate Conducted a Legally Sound and Factually Supported Analysis
               on the “Similarly Situated” standard


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          Plaintiffs’ burden on decertification is cumulative of their demonstration under Rule 23.

 “Similar” and “typical” are synonymous. Therefore, when Plaintiffs demonstrated – and

 Magistrate Judge Whitehurst agreed 10 – that Plaintiffs’ claims were typical for purposes of

 satisfying their burden under Rule 23, Plaintiffs likewise demonstrated – for purposes of the

 FLSA standard – that their claims were “similarly situated.” By the time the Plaintiffs had also

 demonstrated – and Magistrate Judge Whitehurst likewise agreed – that Plaintiffs’ claims were

 also common among the members of a class, Plaintiffs had gone well past any “similarly

 situated” standard.

          Flowers’ assertions about the Magistrate Judge’s analysis are unsupported. Magistrate

 Judge Whitehurst did not merely “adopt[] the reasoning of Rehberg” 11 in finding the Plaintiffs

 are similarly situated. Instead, the Magistrate Judge conducted a careful and thorough analysis of

 the evidence following the appropriate authorities addressing decertification.

          Magistrate Judge Whitehurst avoided error by carefully conducting the two-step Mooney

 v. Aramco Servs. Co., 54 F.3d 1207, 1213 (5th Cir. 1995) analysis for determining whether the

 Plaintiffs are indeed “similarly situated” (Rec. Doc. 339, pp. 23-24). Though it would have been

 easy for her to pretermit such an analysis based on her earlier findings on typicality and

 commonality under her Rule 23 analysis, the Magistrate Judge studiously observed the

 appropriate authorities providing that a “Rule 23 – type analysis is incompatible with FLSA

 collective actions. Austin v. Onward, LLC, 161 F. Supp. 3d 457, 461 (S.D. Tex. 2015), citing

 Genesis Healthcare Corp. v. Symczyk, 133 S.Ct. 1523, 1529 (2013). Therefore, the Magistrate

 Judge’s legally sound analysis was certainly not “cursory” 12 — it was commendably exhaustive.


 10
    Rec. Doc. 339, p. 16.
 11
    Rehberg v. Flowers Baking Company of Jamestown, LLC, 2015 WL 1346125 (W.D.N.C. Mar. 23, 2015).
 12
    “Even a cursory review of the R&R . . . makes it ‘clear’ that this was not done.” (Rec. Doc. 342-1, p. 27)
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         Magistrate Judge Whitehurst’s analysis was also factually supported. Despite the Flowers

 defendants’ assertions, the Magistrate Judge’s finding was not exclusive to scrutiny about

 classification. On the contrary, after combing through the evidence in its totality 13 Magistrate

 Judge Whitehurst correctly made four findings in reaching her conclusion that decertification is

 without merit and would defeat the clear purpose of the FLSA.

         First, Magistrate Judge Whitehurst found that “the plaintiff distributors [all] signed the

 Distributor Agreement, which is essentially the same agreement for all distributors classifying

 them as independent contractors” (Rec. Doc. 339, p. 26). Second, she found that “[t]he

 distributors all have substantially similar job duties” (Rec. Doc. 339, p. 26). Third, she found that

 all distributors are subject to the same common classification by defendants as independent

 contractors, and thus, not entitled to overtime pay” (Rec. Doc. 339, p. 26). Finally, Magistrate

 Judge Whitehurst found that “the record makes clear that despite being classified as independent

 contractors in their Distributor Agreements, Flowers classifies all distributors as ‘statutory

 employees’ . . . and pays FICA taxes on behalf of each distributor” (Rec. Doc. 339, pp. 26-27).

         Magistrate Judge Whitehurst stressed that this fourth finding “demonstrates the uniform

 policy or pattern of classifying all distributors in the same way to benefit Flowers” (Rec. Doc.

 339, p. 27). Therefore, following Mooney, Magistrate Judge Whitehurst concluded, “[b]ased on

 the foregoing evidence adduced through discovery, the undersigned finds the plaintiffs have

 provided sufficient evidence of a company-wide policy which may violate the FLSA” (Rec. Doc.

 339, p. 27). 14




 13
    The Magistrate makes two separate references to such an exhaustive review in her report and recommendation.
 See Rec. Doc. 339, p. 32 and p. 33.
 14
    See p. 2, supra, for similar discussion under Rule 23.
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         Flowers’ assertions may support carefully skewed recitations of the jurisprudence on

 decertification, but they fall short of competently and accurately challenging the Magistrate

 Judge’s sound analysis and findings denying decertification. They certainly lend no credence to

 the notion that the District Court should reject the Magistrate Judge’s findings and

 recommendation. Magistrate Judge Whitehurst entertained but rejected Flowers’s unsupported

 assertion that “actual practice varied significantly with regard to alleged control . . .” (Rec. Doc.

 342-1, p. 28). The Court should adopt the Magistrate Judge’s report and recommendation.

               b. The Magistrate Correctly Found the Evidence is Sufficiently “Representative”.

         On “representative evidence”, the Flowers defendants meet themselves coming and

 going. They assert “for every Plaintiff who provides testimony supporting employee status,

 Defendants can call several others who will say the exact opposite” (Rec. Doc. 342-1, p. 28).

 This argument fails Flowers on decertification for two reasons.

         First, Plaintiffs will at minimum offer testimony to demonstrate the four grounds on

 which Magistrate Judge Whitehurst relied to conclude Plaintiffs are “similarly situated,” but

 Flowers’ claims to countervailing testimony are arguments not evidence. For example, there is

 no evidence before the Court challenging the Magistrate Judge’s finding that “[t]he distributors

 all have substantially similar job duties” (Rec. Doc. 339, p. 26), even as Defendants claim that

 evidence is readily available. On the contrary: all evidence considered and cited by the

 Magistrate Judge militates against Flowers’ claims.

         Second, if the Flowers defendants can indeed “call several others who will say the exact

 opposite,” then the evidence should be sufficiently “representative” for their defense in a class-

 wide trial.



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          The Flowers defendants did not set forth varying evidence on the critical four grounds on

 which the Magistrate Judge relied. They cited, instead, inconsequential differences on five

 factual points. The Magistrate expressly noted all five of these factual grounds at p. 28 of her

 report and recommendation. See (Rec. Doc. 339, p. 280. None of these five grounds was

 persuasive to the Magistrate as material to the issue before the Court. The Magistrate further

 noted that this same approach by the Flowers defendants was likewise rejected by the Rehberg

 court.

          Flowers continued that failing practice in their objection to the Magistrate Judge’s

 recommendation. For example, they support their assertion with a distributor (“Mr. Doucet”)

 who “didn’t even service his territory on a full-time basis for 12 months . . .” (Rec. Doc. 342-1,

 p. 29). Flowers failed to note that same individual’s distributor agreement, the duties he is

 required to fulfill, or his classifications by Flowers – all of which are identical to those of his

 coworkers.

          Even if that (irrelevant) evidence is reviewed by the Court in a light most favorable to the

 Flowers defendants, it still fails to show any suggested variation of evidence on the critical four

 grounds on which Magistrate Judge Whitehurst relied.

          Denial of decertification will not preclude the Flowers defendants “the opportunity to

 present . . . individualized evidence . . .” (Rec. Doc. 342-1, p. 29). On the contrary, Flowers will

 be able to call whomever they desire for purposes of contradicting Plaintiffs’ assertions about

 employee control.

          Consider Mr. Doucet discussed above. Plaintiffs might not call such a witness for the

 purpose of demonstrating control, but defendants could. There is nothing about collective

 treatment of this case that will preclude Defendants’ ability to elicit his testimony. Moreover,

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 even considering Flowers’s assertions about such peculiarities every witness’s testimony will

 still be sufficiently representative on the four critical grounds on which Magistrate relied.

 Therefore, the Magistrate “agree[d] with the plaintiffs . . . that any differences in particular

 defendants can be adequately raised at a trial involving representative testimony” (Rec. Doc.

 339, p. 31).

        Magistrate Judge Whitehurst agreed with the Rehberg court that the Flowers defendants

 continue to “ignore the larger picture of the issue at hand—that all distributors are subject to

 [d]efendants’ uniform policies.” (Rec. Doc. 339, p. 29). , citing Rehberg v. Flowers Baking

 Company of Jamestown, LLC, 2015 WL 1346125 (W.D.N.C. Mar. 23, 2015). Flowers itself

 facilitates this conclusion by rehashing the same assertions rejected by the Rehberg court. It is no

 surprise that the Magistrate Judge, while still engaging in the required factual analysis and legal

 conclusions, finds the Rehberg court’s conclusions persuasive – Defendants invited that

 conclusion by repeating here the same arguments (which failed there) on identical facts.

        The Magistrate correctly followed persuasive FLSA jurisprudence in noting that

 collective treatment may be appropriate when “common issues and facts predominate, and the

 court finds that other factors indicate that plaintiffs are similarly situated and proceeding as a

 collective action would be appropriate” (Rec. Doc. 339, p. 30), citing Thiessen v. Gen. Elec.

 Capital Corp., 267 F.3d 1095, 1107 (10th Cir., 2001) (“Courts have consistently allowed, or even

 required, a small number of employees to testify to establish a pattern of violations for a larger

 number of workers.”)

        Finally, the Magistrate Judge appropriately considered the rationale and spirit behind the

 purpose of collective treatment under the FLSA. In doing so the Magistrate Judge concluded

 that “[d]ecertifying this class would be contrary to both of the purposes of Section 216 of the

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 FLSA” (Rec. Doc. 339, p. 32). Congress intended by this remedial statute “to give plaintiffs the

 advantage of lower individual costs to vindicate rights by the pooling of resources . . .” (Rec.

 Doc. 339, p. 32), quoting Falcon v. Starbucks Corp., 580 F. Supp. 2d 528, 541 (S.D. Tex. 2008).

 It would be economically fatal to Plaintiffs’ claims for each of them to be required to call in

 individual trials each of the company witnesses necessary to proving their case. Moreover, it

 would provide Flowers witnesses the opportunity to offer varied and conflicting testimony, as

 the situation might appear to demand, in the course of hundreds of trials, in spite of this

 Magistrate Judge’s findings on the above-enumerated critical grounds that are identical for each

 plaintiff. And these matters certainly predominate over the nominal differences raised by the

 Flowers defendants. Therefore, the Magistrate Judge recommended that this Court honor the

 purpose behind the statute and deny the Flowers defendants’ Motion for Decertification.

 Plaintiffs respectfully submit the Court should agree.

                                              CONCLUSION

           Magistrate Whitehurst’s exhaustive analysis under Fifth Circuit precedent properly

 recommends a certification under Rule 23 “center[ed] on defendant’s alleged unlawful conduct”

 (supra, p 3.), and denial of decertification of the collective action based on “sufficient evidence

 of a company-wide policy which may violate the FLSA.” (supra, p. 12). While her analysis

 corroborates near identical findings on near identical facts in Rehberg 15 she neither “relied” on

 that decision, nor needed to. Plaintiffs respectfully urge that her recommendation be adopted in

 toto by this Court.




 15
      Rehberg v. Flowers Baking Company of Jamestown, LLC, 2015 WL 1346125 (W.D.N.C. Mar. 23, 2015)
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                                CERTIFICATE OF SERVICE


        This is to certify that a true and correct copy of Plaintiffs’ Response to Objections to

 Magistrate Judge’s Report and Recommendations was electronically filed with the Clerk of

 the Court using the CM/ECF system which sent a notice of electronic filing to counsel as

 indicated by the Court.

        Lafayette, Louisiana, this 10th day of September, 2018.


                                     /s/ Steven G. Durio
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